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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF RHODE ISLAND


  Mary Seguin

        v.                                Civil No. 13-cv-095-JNL-LM

  Hon. Paul Suttell et al.

                               SUMMARY ORDER

        After due consideration of the objections filed,       I herewith

  approve the Report and Recommendation of Magistrate Judge Landya

  B. McCafferty dated October 3, 2013.       The defendants' motion for

  a temporary stay (document no. 34) is accordingly GRANTED, and

  the court imposes, in this case, a narrowly-tailored filing

  restriction upon the plaintiff, as set forth below:

  1.    Plaintiff is ordered to cease filing any motions, pleadings,
        notices, or other documents after the date of this order,
        until the district court rules on the defendants' September
        5, 2013, motion to dismiss (document no. 46), except as
        follows:

        a.   Plaintiff may file one objection or other response to
             each motion filed by defendants while this filing
             restriction remains in effect, within the time allowed
             by LR Cv 7(b);

        b.   Plaintiff may file one objection or other response to
             the defendants' motion to dismiss (document no. 46)
             while this filing restriction remains in effect, within
             the time allowed by this court's prior orders;

        c.   If the magistrate judge issues a report and
             recommendation on the defendants' motion to dismiss
             (document no. 46), plaintiff may file one objection to
             that order and one response to any other party's
             objection, as provided by Fed. R. Civ. P. 72(a) and LR
             Cv 72.2;
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        d.   If the magistrate judge issues an order as to any
             nondispositive matter while this filing restriction
             remains in effect, plaintiff may file one objection to
             that order and one response to any other party's
             objection, as provided by Fed. R. Civ. P. 72(a) and LR
             Cv 72.2;

        e.   Plaintiff may file a motion to extend the deadlines set
             forth herein, demonstrating good cause for extending
             those deadlines; and

        f.   Plaintiff may file a motion seeking the court's leave
             to file another document, in accordance with Paragraph
             2 below.

  2.    Except as to the motions, objections, and responses listed
        in Paragraphs 1(a)-(f) of this order, which plaintiff may
        file without first seeking the court's leave, the court may,
        while this filing restriction remains in effect, summarily
        deny any motion and/or strike any document filed by
        plaintiff, unless plaintiff simultaneously files a motion
        seeking the court's leave to file that document or motion.
        In her motion seeking such leave to file, plaintiff must
        demonstrate the basis upon which she asserts a right or need
        to file the document or motion at issue, and must attach the
        document or motion she proposes to file as an exhibit to the
        motion requesting leave.

  3.    Unless otherwise ordered by this court, defendants need not
        respond to any notice, pleading, or motion currently
        pending, or filed by plaintiff after the date of this order,
        while this filing restriction remains in effect.

  4.    Unless otherwise ordered by this court, the conditions and
        restrictions set forth in Paragraphs 1-3 of this order shall
        terminate when the district judge either rules on the
        defendants' motion to dismiss (document no. 46), or accepts,
        rejects, or modifies the magistrate judge's report and
        recommendation on that motion, whichever occurs first.

        The court has also given due consideration to the

  plaintiff's motions to vacate this court's July 2, 2013 order

  designating Magistrate Judge McCafferty to hear and determine all

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  pretrial matters, as well as motions to dismiss and for summary

  judgment, pursuant to 28 U.S.C.     §   636(b) (1).   Finding no basis

  for the plaintiff's allegations of bias on Magistrate Judge

  McCafferty's part, the court DENIES those motions (documents nos.

  74,   92).


         SO ORDERED.




                                       eph       lante
                                    U ited States District Judge

  Dated:       December 17, 2013

  cc:   Mary Seguin (pro se)
        Rebecca Tedford Partington, Esq.
        Susan E. Urso, Esq.




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